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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:17-CR-00137-LJO-SKO
12                               Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                         v.                           FINDINGS AND ORDER
14   GREVIN MARIO MORALES, SR.,                         CURRENT DATE: February 5, 2018
     JOSHUA DOUGLAS WHITEHEAD,                          CURRENT TIME: 1:00 p.m.
15                                                      COURT: Hon. Sheila K. Oberto
                                 Defendants.
16                                                      PROPOSED DATE: March 5, 2018
17                                                      PROPOSED TIME: 1:00 p.m.
                                                        COURT: Hon. Sheila K. Oberto
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21                                              STIPULATION
22          Plaintiff United States of America, by and through its counsel of record, and defendant Grevin
23 Mario MORALES, Sr., by and through defendant’s counsel of record, Marc Days, and defendant Joshua

24 Douglas WHITEHEAD, by and through defendant’s counsel of record, David Torres, hereby stipulate as

25 follows:

26          1.     A status conference in this was previously set in this matter for February 5, 2018, and
27 time had previously been excluded to that date pursuant to the Speedy Trial Act, 18 U.S.C.§

28 3161(h)(7)(A), B(iv).

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30    PERIODS UNDER SPEEDY TRIAL ACT
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 1         2.     By this stipulation, defendants now move to continue the status conference until March 5,

 2 2018, at 1:00 p.m. and to exclude time between February 5, 2018, and March 5, 2018, inclusive, under

 3 the Speedy Trial Act, 18 U.S.C.§ 3161(h)(7)(A), B(iv).

 4         3.     The parties agree and stipulate, and request that the Court find the following:

 5                a)      Counsel for defendants desire additional time to review the current charges, to

 6         review the discovery, to conduct research and investigation related to the charges and potential

 7         pretrial motions, and to consult with her client.

 8                b)      Counsel have various conflicts in other cases between now and the proposed

 9         March 5, 2018 status conference that would not reasonably permit them to try this case any time

10         between now and March 5, 2018.

11                c)      Counsel for defendants believe that failure to grant the above-requested

12         continuance would deny them the reasonable time necessary for effective preparation, taking into

13         account the exercise of due diligence.

14                d)      Additionally, defendant MORALES is employed with Patriot Environmental

15         Services and his employer has requested that Defendant work for one week, starting today, at a

16         job cite located in Nevada City, California. His attorney is also requesting the court continue the

17         currently scheduled status conference to allow the Defendant to work the full week at the job

18         cite, rather than return to Fresno for the scheduled status conference. Pretrial services officer

19         Frank Guerrero is aware Defendant will be working at the cite and of the defense’s request to

20         continue the status conference. Officer Guerrero has no objection.

21                e)      Counsel for defendant WHITEHEAD has reviewed the plea agreement tendered

22         by the government with his client. Defendant WHITEHEAD has expressed an interest in signing

23         the plea. However, his family asked to defense counsel to meet with defendant WHITHEAD to

24         discuss the consequences of the disposition prior to Mr. Whitehead signing said agreement. Mr.

25         Torres will meet with defendant WHITEHEAD this coming week as Mr. Torres is currently out

26         of town. While Mr. Torres anticipates having a signed plea agreement by this coming Tuesday,

27         February 6, 2018, he is not entirely certain that this case will resolve.

28                f)      The government does not object to the continuance.

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 1                 g)      Based on the above-stated findings, the ends of justice served by continuing the

 2          case as requested outweigh the interest of the public and the defendant in a trial within the

 3          original date prescribed by the Speedy Trial Act.

 4                 h)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 5          et seq., within which trial must commence, the time period of February 5, 2018 to March 5,

 6          2018, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) because it

 7          results from a continuance granted by the Court at defendant’s request on the basis of the Court’s

 8          finding that the ends of justice served by taking such action outweigh the best interest of the

 9          public and the defendant in a speedy trial.

10          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

11 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

12 must commence.

13          IT IS SO STIPULATED.

14

15
     Dated: February 1, 2018                                  PHILLIP A. TALBERT
16                                                            United States Attorney
17
                                                              /s/ ANGELA L. SCOTT
18                                                            ANGELA L. SCOTT
                                                              Assistant United States Attorney
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20
     Dated: February 1, 2018                                  /s/ per email authorization
21                                                            MARC DAYS
22                                                            Counsel for Defendant
                                                              GREVIN MARIO MORALES,
23                                                            SR.

24
     Dated: February 1, 2018                              /s/ per telephonic authorization
25                                                         DAVID TORRES
                                                           Counsel for Defendant
26                                                         JOSHUA DOUGLAS WHITEHEAD
27

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      STIPULATION REGARDING EXCLUDABLE TIME               3
30    PERIODS UNDER SPEEDY TRIAL ACT
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 1                                          FINDINGS AND ORDER

 2          Pursuant to the parties’ stipulation and for good cause shown, IT IS HEREBY ORDERED that

 3 the status conference, currently set for February 5, 2018, is hereby vacated and continued to March 5,

 4 2018, at 1:00 p.m. for defense preparation and to allow the parties additional time to achieve a mutually

 5 agreeable resolution of this matter. Should the parties resolve the case, they shall request that the matter

 6 be reset as a change of plea hearing before United States District Judge Lawrence J. O'Neill on or before

 7 March 5, 2018, at 1:00 a.m. If the parties are unable to resolve the matter, they shall be prepared to

 8 select a mutually agreeable trial date at the next status conference.

 9          It is further ORDERED that the time period between February 5, 2018, and March 5, 2018,

10 inclusive, is excluded from the calculation under the Speedy Trial Act pursuant to 18 U.S.C.§

11 3161(h)(7)(A), B(iv) for the reasons stated in the parties’ stipulation.

12
     IT IS SO ORDERED.
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14 Dated:      February 2, 2018                                  /s/   Sheila K. Oberto             .
                                                       UNITED STATES MAGISTRATE JUDGE
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      STIPULATION REGARDING EXCLUDABLE TIME              4
30    PERIODS UNDER SPEEDY TRIAL ACT
